      Case 23-30582-swe7 Doc 17 Filed 05/12/23 Entered 05/12/23 23:19:10                                    Desc
                        Imaged Certificate of Notice Page 1 of 3




The following constitutes the ruling of the court and has the force and effect therein described.



Signed May 10, 2023
                                           United States Bankruptcy Judge
______________________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                                  NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

       IN RE:                                              §
                                                           §
       Deandrea Ann Anderson,                              §             Case No. 23-30582-swe7
                                                           §
                       Debtor.                             §
                                                           §

                                                         §
       Mechanics Bank, a California banking corporation, §              Hearing on Motion to Lift
                                                         §              Automatic Stay:
                     Movant,                             §              May 3, 2023, at
                                                         §              1:30 p.m.
       v.                                                §
                                                         §
       Deandrea Ann Anderson,                            §
                                                         §
                     Debtor-Respondent.                  §




                       ORDER GRANTING TERMINATION OF AUTOMATIC STAY

             CAME ON FOR CONSIDERATION the Motion for Relief from the Automatic Stay previously

      filed herein, and the Court having considered the Motion, and no response to the Motion having been

      offered by any party, and it appearing that MECHANICS BANK, A CALIFORNIA BANKING

      CORPORATION has an interest in the Collateral described in the Motion for Relief from the Automatic
Case 23-30582-swe7 Doc 17 Filed 05/12/23 Entered 05/12/23 23:19:10                                               Desc
                  Imaged Certificate of Notice Page 2 of 3


Stay; that Debtor has been unable to afford Mechanics Bank, a California banking corporation adequate

protection for its interest in such Collateral; that Debtor has not offered any opposition to the Motion; that

all parties in interest have been duly notified of the Motion for Relief from the Automatic Stay and of the

hearing on such Motion; and that Mechanics Bank, a California banking corporation should be permitted

to foreclose its interest in such Collateral and be permitted to sell said Collateral in a commercially

reasonable manner and apply the proceeds against the indebtedness of Debtor in connection with said

Collateral and that the excess, if any, be paid over to the Trustee in Bankruptcy;

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Stay afforded by 11

U.S.C. §362 be, and it is hereby terminated to permit MECHANICS BANK, A CALIFORNIA

BANKING CORPORATION to foreclose its interest and sell the Collateral described as follows, to-wit:

                                               2016 Lexus ES
                                         VIN: JTHBW1GG1G2103604

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, since the Motion was

unopposed by any party, the fourteen (14) day stay period otherwise imposed by Fed. R. Bnkr. P. 4001(3)

shall not be applicable to this Order.

                                         # # # END OF ORDER # # #


Submitted by:

Patrick M. Lynch, Esq.
State Bar No. 24065655
Email: plynch@qslwm.com
QUILLING, SELANDER, LOWNDS,
WINSLETT & MOSER, P.C.
2001 Bryan Street, Suite 1800
Dallas, TX 75201
(214) 871-2100 (telephone)
(214) 871-2111 (telefax)

Attorneys for Mechanics Bank, a
California banking corporation
            Case 23-30582-swe7 Doc 17 Filed 05/12/23 Entered 05/12/23 23:19:10                                                                   Desc
                              Imaged Certificate of Notice Page 3 of 3
                                                               United States Bankruptcy Court
                                                                 Northern District of Texas
In re:                                                                                                                  Case No. 23-30582-swe
DeAndrea Ann Anderson                                                                                                   Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                   User: admin                                                                 Page 1 of 1
Date Rcvd: May 10, 2023                                                Form ID: pdf012                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 12, 2023:
Recip ID                  Recipient Name and Address
db                      + DeAndrea Ann Anderson, 6653 McKinney Ranch Pkwy, Apt 8311, McKinney, TX 75070-2219

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 12, 2023                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 10, 2023 at the address(es) listed below:
Name                               Email Address
Mark S. Rubin
                                   on behalf of Debtor DeAndrea Ann Anderson bankruptcy2@rubin-owens.com
                                   Notices.Bankruptcy@rubin-owens.com;RubinAssociatesPC@jubileebk.net

Patrick Michael Lynch
                                   on behalf of Creditor Mechanics Bank Auto Finance plynch@qslwm.com jtownzen@qslwm.com

Scott M. Seidel
                                   scott@scottseidel.com susan.seidel@earthlink.net;sms01@trustesolutions.net

United States Trustee
                                   ustpregion06.da.ecf@usdoj.gov


TOTAL: 4
